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                                     ORDERED.


     Dated: March 25, 2019




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov

IN RE:                                         Case No. 8:19-bk-00472-MGW
Elsa Maria Sosa                                Chapter 7

       Debtor.                             /

               AGREED ORDER GRANTING MOTION FOR RELIEF
                           FROM THE AUTOMATIC STAY
            (DOC. NO. 12) (RE: 12534 Lake Vista Drive, Gibsonton, FL 33534)

       THIS matter came on for consideration upon the Motion of Creditor, The Bank of New

York Mellon, as Trustee for Structured Asset Mortgage Investments II Trust 2006-AR8 Mortgage

Pass-Through Certificates Series 2006-AR8, seeking modification of the automatic stay (Doc. No.

12). An agreement was reached with the Chapter 7 Trustee and therefore, it is

ORDERED:

   1. That the Motion for Relief from the Automatic Stay is hereby granted.

   2. That the automatic stay is hereby modified for the sole purpose of allowing movant to

       obtain an in rem judgment against the following described real property:

       LOT 18, BLOCK 12, KINGS LAKE PHASE 3, ACCORDING TO THE PLAT
       THEREOF AS RECORDED IN PLAT BOOK 94, PAGE 12, OF THE PUBLIC
       RECORDS OF HILLSBOROUGH COUNTY, FLORIDA

       Said property also bears a common address of:
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       12534 Lake Vista Drive, Gibsonton, FL 33534

       3. The effective date of this order is delayed ninety days to allow the Chapter 7 Trustee

       to attempt to market and sell the subject property.

       4. This Agreed Order grants in rem relief only and does not authorize movant to seek or

       obtain in personam relief against the Debtor.

                                                  XXX


Attorney Elizabeth Eckhart is directed to serve a copy of this order on interested parties who do
not received service by CM/ECF and file a proof of service within 3 days of entry of the order.


Order Prepared by: Elizabeth Eckhart

15-286442
